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 DG:md


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 21-20383-CR-MOORE


 UNITED STATES OF AMERICA,

 vs.

 PABLO ANTONIO GUERRERO MARQUEZ,
 ENER CORTES RODRIGUEZ, and
 LEONEL GARCIA CABEZA,

                  Defendants.
                                                   /

                                        NOTICE OF APPEARANCE

         The United States of America hereby gives notice that Assistant U.S. Attorney Daren Grove has

 been assigned to this case with responsibility for matters related to the criminal forfeiture.

                                                       Respectfully submitted,

                                                       JUAN ANTONIO GONZALEZ
                                                       ACTING UNITED STATES ATTORNEY


                                           By:         s/Daren Grove
                                                       _____________________________________
                                                       Daren Grove (Court No. A5501243)
                                                       Assistant United States Attorney
                                                       E-mail: daren.grove@usdoj.gov
                                                       500 E. Broward Boulevard, Suite 812
                                                       Fort Lauderdale, Florida 33394
                                                       Telephone: 954.660.5774
                                                       Facsimile: 954.356.7180
